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                                                          LOIA, Inc. (APLC) Filed   09/07/22
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                                                                                            v. BMW FS/2030-224



                                                                                                               Ilya Alekseyeff <ilya@loia.legal>



  Elizarov v. BMW FS/2030-224
  1 message

  Rebecca Caley <rcaley@caleylaw.com>                                                                                Tue, May 14, 2019 at 2:00 PM
  To: Ilya Alekseyeff <ilya@loia.legal>
  Cc: "Chris M. Domin" <cdomin@caleylaw.com>, Carolyn Byrne <carolyn@caleylaw.com>


    Mr. Alekseyeff


    Attached please find my client, BMW Financial Services NA, LLC’s draft Settlement Agreement for
    your consideration.


    Further, because the agreement has the standard CCP 664.6 enforcement term, I have prepared a
    separate stipulation that must be signed by our respective clients with a proposed order approving
    the stipulation that is now required to make that term enforceable. There was a recent case, Sayta
    v. Chu (Nov. 29, 2017) 17 Cal. App. 5th 960, that now holds that a stipulation of the parties and a
    court order approving the stipulation to a CCP 664.6 term, is required BEFORE the court dismissal
    pursuant to the terms of the Settlement Agreement, otherwise the 664.6 term is unenforceable.
    Therefore, I took the liberty of preparing and attaching such a stipulation for your consideration that
    again, is only required to be signed by the parties, as counsel signed stipulations are not sufficient
    pursuant to the Sayta decision.


    Please review and get back to me with any questions or requested revisions.


    Kind Regards,


    Rebecca A. Caley
    Caley & Associates
    265 S. Randolph Ave., Ste. 270
    Brea, CA 92821
    Tel (714) 529-1400
    Fax (714) 529-1515
    __________________________________________________________________________________________
    _________________________________________________

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                                                                                                                        Exhibit B - 1
https://mail.google.com/mail/u/0/?ik=2a76eb40de&view=pt&search=all&permthid=thread-f%3A1633542656220739049%7Cmsg-f%3A1633542656220…                       1/2
4/23/22,Case
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                                                           LOIA, Inc. (APLC) Filed   09/07/22
                                                                             Mail - Elizarov        Page 2 of 2 Page ID #:2456
                                                                                             v. BMW FS/2030-224

    or alleged loss, damage, or injury arising out of or resulting in any way from the receipt, opening or use of this email is expressly
    disclaimed. Thank you.




     2 attachments
          Settlement Agreement.pdf
          74K
          Stip to Retain Jurisdiction.pdf
          53K




                                                                                                                           Exhibit B - 2
https://mail.google.com/mail/u/0/?ik=2a76eb40de&view=pt&search=all&permthid=thread-f%3A1633542656220739049%7Cmsg-f%3A1633542656220…         2/2
